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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                      EASTERN DIVISION

  ALAN SEALS,                                           )
                                                        )
              Plaintiff,                                )
                                                        )
  v.                                                          Case No.: 3:19-cv-00468-MHT-JTA
                                                        )
  DR. STEVEN LEATH, ET AL. ,                            )
                                                        )
              Defendants.                               )

       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO ENFORCE THE
                    COURT’S ORDER AND FOR SANCTIONS

             Defendants Dr. Steven Leath, Dr. Bill Hardgrave, Dr. Timothy Boosinger, Dr. Joseph

Aistrup, Dr. Hyeongwoo Kim, and Dr. Jay Gogue (collectively, “Defendants”) oppose Plaintiff’s

“Amended Motion to Enforce the Court’s Discovery Order and for Sanctions,” Doc. 57.

                                            INTRODUCTION

       1. On February 22, 2021, the Court granted Plaintiff’s Motion to Compel in part, ordering

             Defendants to produce documents responsive to Plaintiff’s Request for Production No. 5.

             Doc. 41, pp. 8–9. Request for Production No. 5 states:

                    All documents and communications concerning compensation, benefits,
                    and/or bonuses, including but not limited to, information concerning the
                    decision to increase or decrease said compensation, benefits, and/or bonuses
                    for all professors within the Economics Department from [2017] to the
                    present.

See id. at 2 (emphasis added) (alteration to reflect the Court’s order).

       2. As Plaintiff acknowledges, Defendants provided responsive documents on March 8, 2021,

             as required by the Court’s Order. See Doc. 41 at 10; Doc. 47 at 2. These documents

             consisted of the Economics Department’s professors’ Faculty Annual Reviews and other

             documents concerning their compensation, benefits, and bonuses from 2017 through the

             present.


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      3. On March 10, 2021, Plaintiff’s counsel questioned whether the produced documents were

             a full and complete production. See Doc. 57-1. Defendants’ counsel promptly investigated

             Plaintiff’s belief that additional responsive documents existed and discovered that there

             were additional potentially responsive documents. Defendants then produced additional

             responsive documents in a rolling production on March 12, March 26, and April 1, 2021.

             See Doc. 57 at 2–4. In the production, Defendants redacted information that is

             nonresponsive to Request No. 5 and that falls outside the scope of the Court’s Order. On

             April 2, 2021, Defendants then certified that they had complied, in good faith, with the

             Court’s Order. See id. at 4.

      4. During this timeframe, while Defendants reviewed and produced additional responsive

             documents, the parties jointly moved the Court for three extensions of the dispositive

             motion response deadline. See Docs. 42, 47, 49. These requests were made in a spirit of

             cooperation so that Plaintiff would have sufficient time to review the production and

             potentially use the documents in his response. The Court granted each request. See Docs.

             43, 48, 50.

      5. On April 7, 2021, Plaintiff requested for the first time that the documents be provided in

             “near-native format” rather than as PDF files, which Defendants had been producing. The

             following day, Plaintiff requested non-redacted native files or, alternatively, a privilege

             log. See id. at 4–5.

      6. On April 9, 2021, Defendants’ counsel advised Plaintiff’s counsel that “the redacted

             information in the documents produced concerns colleges and schools at Auburn

             University other than the College of Liberal Arts, departments within the College of Liberal

             Arts other than the Economics Department and individuals who were not professors within



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             the Economics Department.” See Doc. 57-6. Defendants’ counsel offered to produce native

             format files if it were possible to maintain the proper redactions, and began consulting

             counsel’s information technology team to determine if this type of production were

             possible. See Doc. 57 at 15. Defendants further agreed to produce the non-redacted

             documents for in camera review, should the Court so order. Id.

      7. Plaintiff also requested to re-depose Defendants Kim, Aistrup, and Hardgrave on the

             limited topic of the documents responsive to Request No. 5, should the Court permit the

             reopening of discovery for this limited purpose. See Doc. 57 at 5–6. Defendants agreed to

             this request pending the appropriate Court order. See Email to Plaintiff’s Counsel dated

             Apr. 15, 2021 (attached hereto as Exhibit A), p. 3 (acknowledging that the parties agreed

             to re-depose certain Defendants on a limited basis if approved by the Court).

      8. On April 15, 2021, in a continued effort to resolve these issues without burdening the

             Court, Defendants’ counsel advised Plaintiff’s counsel that it would be possible to produce

             “the documents, with redactions,… in near-native format” and that counsel’s

             “understanding is that the defense is able to re-do the production provided in response to

             plaintiff’s request for production #5 (‘RFP #5’) with the appropriate load files in redacted

             form.” See Ex. A at 1. Defendants’ counsel also advised Plaintiff’s counsel that, if

             Plaintiff’s position is that “… plaintiff is entitled to unredacted documents, then [he]

             prefer[s] that the court address whether unredacted documents must be produced before

             the defense begins re-doing its response to RFP #5.” See Ex. A at 1.

      9. As more fully set out below, Defendants have complied in good faith with this Court’s

             discovery order and have cooperated with Plaintiff in order to avoid involving the Court in

             these discovery disputes. Accordingly, Plaintiff’s motion for sanctions should be denied.



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                                            STANDARD OF REVIEW

             Federal Rule of Civil Procedure 37(b)(2)(A) states that if a party “fails to obey an order to

provide or permit discovery, including an order under Rule 26(f), 35, or 37(a), the court … may

issue further just orders” that include “prohibiting the disobedient party from supporting or

opposing designated claims or defenses, or from introducing designated matters into evidence.”

See Fed. R. Civ. P. 37(b)(2)(A)(ii). The “court’s inherent power to impose sanctions for litigation

misconduct must be exercised with restraint and discretion.” Zurich Am. Ins. Co. v. Bulldog

Marine, Inc., No. 14-00294-WS-N, 2014 WL 7183866, at *2 (S.D. Ala. Nov. 20, 2014) (internal

marks and citation omitted) (emphasis added). In determining whether to award sanctions, the

court should consider whether Defendants “substantially complied” with the Court’s prior

discovery order. See Wheeler Bros., Inc. v. Jones, No. 2:14-cv-1258-PGB, 2016 WL 11480400, at

*8 (M.D. Ala. May 20, 2016).

                                                   ARGUMENT

             Defendants have complied in good faith with the Court’s order compelling the production

of documents, and sanctions are not appropriate under Rule 37. As demonstrated below, Plaintiff’s

motion is due to be denied.

                    1.      Defendants Complied with the Court’s Order.

             After this Court ordered Defendants to “produce information responsive to Plaintiff’s

request for production numbered 5 for the period of 2017 to the present,” see Doc. 41 at 10,

Defendants produced the documents they believed to be responsive to the discovery request. After

receiving Defendants’ March 8, 2021 production, Plaintiff questioned whether all responsive

documents had been produced. Based on Plaintiff’s concerns, Defendants immediately began

searching for the additional responsive information that Plaintiff contended existed. That search

consisted of locating and reviewing tens of thousands of pages of additional documents and

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resulted in Defendants providing Plaintiff with additional information that was responsive to the

Court’s discovery order. When such information was located, it was produced to Plaintiff on a

rolling basis until April 2, 2021, when Defendants believed that they had completely addressed the

concerns raised by Plaintiff about the production.

             As part of this production, Defendants provided documents relating to the compensation,

benefits, or bonuses of the professors in the Economics Department of Auburn University’s

College of Liberal Arts (“CLA”). See Doc. 41 at 2, 10 (compelling production of “[a]ll documents

and communications concerning compensation, benefits, and/or bonuses… for all professors

within the Economics Department”) (emphasis added). As Defendants’ counsel explained to

Plaintiff’s counsel, some of the documents (predominantly spreadsheets or emails) contained

information relating to compensation, benefits, and/or bonuses for Auburn University personnel

who are not professors in the Economics Department. For example, some of the information

concerned professors in other CLA departments or Auburn employees in its other colleges or

schools.1 Defendants, therefore, complied or “substantially complied” in good faith with this

Court’s discovery order.

             On April 8, 2021, Plaintiff requested that Defendants provide unredacted, native-format

documents. Given that the redacted information relates to individuals who are not “professors

within the Economics Department,” Defendants declined to do so. Rather, Defendants agreed to

research whether the native files could be produced with the appropriate redactions intact. See Ex.



             1
           In addition to CLA, Auburn is comprised of 14 other schools or colleges, such as the
College of Agriculture and the School of Nursing, and has 1,426 full-time faculty. See Auburn at
a Glance, available at http://www.auburn.edu/main/welcome/factsandfigures.php (last visited
Apr. 19, 2021). Currently, the Economics Department has 17 faculty members who are professors
(e.g., not instructors or lecturers). See Professorial Faculty, Department of Economics, available
at https://cla.auburn.edu/economics/directory/professorial-faculty/ (last visited Apr. 19, 2021).

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A at 3. On April 15, Defendants’ counsel informed Plaintiff’s counsel that Defendants were both

willing and able to “re-do” the production in native files with the existing redactions still in place.

See id. at 1.

             Plaintiff’s position that he is entitled to unredacted native files—and that Defendants

should be sanctioned for not producing those documents—mischaracterizes the Court’s discovery

order. As is clear from the face of the Court’s Order, Defendants were compelled to produce

“documents and communications concerning compensation, benefits, and/or bonuses, including

but not limited to, information concerning the decision to increase or decrease said compensation,

benefits, and/or bonuses for all professors within the Economics Department from [2017] to

present.” See Doc. 41 at 2, 10 (emphasis added). This is exactly what Defendants have produced.

Plaintiff’s contention that he is now due the documents with information for Auburn faculty or

staff outside of the “professors within the Economics Department” is an impermissible broadening

of the original discovery request and this Court’s Order. As the Court explained, “[i]nformation

pertaining to [Plaintiff’s] colleagues’ compensation may be probative as to Defendants’ intent to

retaliate against Plaintiff or whether Defendants’ reasons for providing a lower compensation to

Plaintiff are pretextual.” Doc. 41 at 8 (emphasis added). The Court recognized that Plaintiff’s

“colleagues”—and not just any Auburn professor or other employee—are Plaintiff’s comparators.

See Lewis v. City of Union City, Ga., 918 F.3d 1213, 1224 (11th Cir. 2019) (en banc) (holding that

“a plaintiff must show that she and her comparators are ‘similarly situated in all material

respects’”); id. at 1227 (discussing factors that make a “valid comparison” of comparators).

             The information Plaintiff now seeks—and seeks to sanction Defendants for not

producing—is not only nonresponsive, but also contains sensitive data for parties who are not

protected by the Protective Order in this case. See Doc. 45. The Protective Order applies, in part,



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to “confidential information” identified as “Faculty Annual Reviews (‘FARs’) of Instructors,

Assistant Professors, Associate Professors and Professors of Auburn University’s Department of

Economics that are identified as pages ‘Seals Plaintiff RFP#5 0015 through and including 0080.’”

See Doc. 45, pp. 1–2. The redacted information is, therefore, not protected. In light of the non-

responsiveness and the sensitivity of the information—in addition to the fact that it was not

compelled to be produced and falls outside the scope of the discovery request—Defendants should

not be ordered to provide Plaintiff with unredacted documents.

                    2.     Plaintiff Is Not Entitled to Sanctions.

             Because Defendants complied in good faith with the Court’s discovery order, Plaintiff is

not entitled to the sanctions he seeks. Namely, Plaintiff seeks an order striking and/or precluding

any evidence “that supports Defendants’ position that Plaintiff’s raise was proper and not a

retaliatory act committed by Defendants” and for the costs Plaintiff incurred relating to the instant

motion. See Doc. 57 at 7. Such an order would be inappropriate here where Defendants have

produced the information and documents compelled by the Court’s discovery order. Courts have

prohibited the introduction of certain evidence as a sanction for failing to cooperate with the

discovery process and for failing to comply with a court’s order. See Wheeler Bros., Inc., No. 2016

WL 11480400 at *8–*9. The sanction, however, is applied only when a party does not

“substantially comply” with the court’s discovery order. See id. at *9. Indeed, sanctions are a

penalty against “litigation misconduct,” not against a party that has complied, in good faith, with

the order at issue. See Zurich Am. Ins. Co., 2014 WL 7183866 at *1; but see Computer Programs

& Sys., Inc. v. Tex. Gen. Hosp., No. 1:18-00112-TFM-N, 2020 WL 3966914, at *4 (S.D. Ala. June

10, 2020) (granting sanctions to limit evidence on summary judgment based on defendants’ “clear

pattern of delay” over eight months after issuance of court’s discovery order).



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             Here, Defendants have complied in good faith with this Court’s discovery order.

Defendants believed they had produced, by March 8, 2021, the information compelled by the

Court. When Plaintiff questioned the sufficiency of that production, Defendants immediately

searched further and, upon determining that there could have been additional responsive

information, began working to provide that information as expeditiously as possible.2 That was

completed by April 2, 2021. Over the 25-day period between March 8 and April 2, the parties

cooperated to resolve their discovery disputes and, in fact, there was no unresolved dispute about

Defendants’ production and its adequacy until April 8, 2021 when Plaintiff first sought unredacted,

native format documents. In unredacted form, these documents contain information about

professors other than those in Auburn’s Economics Department. Defendants have offered to

provide, in native version, redacted versions of the documents produced to Plaintiff. Whether

Plaintiff is entitled to unredacted documents (in whatever form) that contain information about

professors other than those in the Economics Department at Auburn University—information that

the Court did not compel—is a good faith dispute for which sanctions are unwarranted.

             Notably, Plaintiff has not moved this Court for an order compelling the production of

documents for professors (or other Auburn personnel) outside of the Department of Economics,

which is the information Plaintiff now seeks. This request exceeds the scope of Plaintiff’s own

request for production. Sanctions are not available under Rule 37 absent a prior court order. See

Fed. R. Civ. P. 37(b)(2)(A) (“If a party … fails to obey an order to provide or permit discovery,


             2
          This is not to suggest that it was Plaintiff’s obligation to inform Defendants what
documents Defendants should have produced. Instead, this is offered to demonstrate Defendants’
good faith. When Plaintiff raised concerns about the sufficiency of the production, Defendants
responded and promptly addressed those concerns. It was only when Plaintiff contended that he
was entitled to information the Court did not compel—that is, information about professors and
staff other than “professors within the Economics Department”—that the parties reached an
impasse.

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including an order under Rule … 37(a)….”) (emphasis added); see also Boswell v. Gumbaytay,

No. 2:07-cv-135-WKW[WO], 2009 WL 1515912, at *1 (M.D. Ala. June 1, 2009). For this reason

alone, sanctions are inappropriate.

                    3.     Defendants Continue to Engage in Good Faith Discovery Practices.

             As noted in Plaintiff’s motion, Defendants have agreed to make Defendants Kim, Aistrup,

and Hardgrave available for deposition for the limited purpose of addressing the documents

produced in accordance with the Court’s discovery order. See Ex. A at 3. Defendants have further

agreed to submit the unredacted documents to the Court for in camera review, should the Court

order it. See id. at 2. Moreover, Defendants have joined each request for an extension of the

dispositive motion response deadline so that Plaintiff will not be prejudiced by any untimely

production. See Docs. 42, 47, 49. Further, Plaintiff has not been prejudiced by any slight delay in

Defendants’ production. After this matter was reassigned to Judge Huffaker as the presiding judge

on April 6, 2021, see Doc. 51, the Court sua sponte continued “all deadlines tied to the trial of this

case… pending the resolution of the [summary judgment] motion.” Doc. 52 (entered April 9,

2021). In short, Defendants have complied with the Court’s discovery order and have cooperated

with Plaintiff’s counsel in good faith on any outstanding issues. Accordingly, the motion for

sanctions is due to be denied.

                                             CONCLUSION

             Based on the foregoing, Plaintiff’s Motion to Enforce the Court’s Discovery Order and for

Sanctions (Doc. 57) should be denied.




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             Respectfully submitted this the 23rd day of April, 2021.


                                                  /s/ John G. Smith
                                                  One of the Attorneys for Defendants


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                                CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system and service will be perfected upon the following CM/ECF participant(s)
electronically on this the 23rd day of April, 2021:

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